Case 1:23-cv-01599-ABJ Document 16-4 Filed 06/06/23 Page 1 of 2




        EXHIBIT A-28
                                                       Case 1:23-cv-01599-ABJ Document 16-4 Filed 06/06/23 Page 2 of 2


                                                                                                                                                                 Date Submitted Corporate
              Name                  Street Address 1                    Street Address 2               City   State / Region    Zip                Country                                          Point of Contact
                                                                                                                                                                 Application to BAM Trading

Merit Peak Limited   30 de Castro Street                  Wickhams Cay 1, P.O. Box 4519    Road Town          Tortola          VG1110   British Virgin Islands            8/14/2019 12:33:12 Vincenet Tsun-Ho Kwok
Sigma Chain AG       Gubelstrasse 11                                                       ZUG                ZUG               6300    Switzerland                       8/22/2019 20:30:20 Chen Guangying
